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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORID A
                                     MIAMI DIVISIO N


 SETH GERSZBERG, )

          Plaintiff,                             )

 vs . ) Case Number :

 CITY OF MIAMI BEACH, FLORIDA,
 A Florida Municipal Corporation, )

          Defendant .                            )




                                            COMPLAINT

          Plaintiff Seth Gerszberg, (hereinafter "Gerszberg") through his undersigned attorneys ,

 sues defendant, City of Miami Beach, Florida (hereinafter the "City"), and alleges :

                                          INTRODUCTION

          Plaintiff Seth Gerszberg owns residential property in the City of Miami Beach . He has

 long been a supporter of graffiti art . Previously, the City has issued a citation to Gerszberg and

 required, under threat of substantial fines, that he remove graffiti to which he had no objection

 from his property. Gerszberg desires to have graffiti art painted on his property by a recognized

 graffiti artist . Gerszberg believes that the City's prohibition of graffiti art which he authorizes on

 his property is a violation of the First Amendment to the Constitution of the United States . This

 action is brought in order to obtain a declaration that owners of private property may permit

 graffiti art without interference by the City with a citizen's constitutional right of free expression .

          1 . This action seeks a declaration that the provisions of the Miami Beach City Code,

 to the extent they restrict owner-authorized graffiti art, impermissibly prohibit or restrict artistic

 expression in violation of the First Amendment, and an Order barring the enforcement of Miam i



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 Beach City Code Sections 58-298, 58-299 and 70-126(a) (hereinafter the "anti-graffiti

 ordinances"), and Section 138-204 (hereinafter the "artistic graphics ordinance"), to the artistic

 expression of the Plaintiff.

         2 . Plaintiff also seeks a declaration that the City's ordinances relating to graffiti art

 are unconstitutionally vague because they lack definitions of key terms, are contradictory, and

 lack any semblance of standards for administrative decision-making, thereby making it

 impossible to determine whether they prohibit placement and maintenance of graffiti art even

 when authorized by the owner, or if permitted, under what standards . Further, Section 70-123 of

 the City Code appears to permit graffiti art on property with the owner's consent .

         3 . Plaintiff Gerszberg alleges that those sections of the City Code which address

 graffiti art violate his First and Fourteenth Amendment Rights . He seeks a judgment declaring

 these ordinances unconstitutional and enjoining their enforcement, so that he, as a Miami Beach

 property owner, can freely exhibit graffiti art on private property without the unconstitutional

 interference of the government .

                                             PARTIES

         4 . Plaintiff Seth Gerszberg owns residential property in the City of Miami Beac h

 located at 4609 Pine Tree Drive . This property is essentially vacant with a partially constructed

 house on the property .

         5 . Defendant, City of Miami Beach, is a municipality existing under Article VIII,

 Section 2 of the Florida Constitution and Chapter 166, Florida Statutes . All actions of the City

 are under color of state law .




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                                            JURISDICTION

          6. Jurisdiction of this Court is invoked pursuant to 28 U .S.C. § 1331 in that this is a

 civil action arising under the Constitution of the United States .

          7. Jurisdiction of the Court is invoked pursuant to 28 U .S .C. § 1343(a)(3) in that this

 action seeks to redress the deprivation, under color of state law, of rights secured to the plaintiff

 by the First and Fourteenth Amendments to the Constitution of the United States of America.

          8 . The plaintiff's claims for relief are predicated on upon 42 U .S .C . § 1983, which

 authorizes actions to redress the deprivation, under color of state law, of rights, privileges and

 immunities secured to plaintiff by the Constitution and laws of the United States .

          9 . Declaratory relief is sought pursuant to 28 U .S.C. §§ 2201 and 2202 .

          10. Injunctive relief is sought pursuant to Rule 65, Federal Rules of Civil Procedure .

          11 . Plaintiff's claim for attorneys' fees and costs is predicated upon 42 U .S .C . § 1988,

 which authorizes the award of attorney's fees and costs to prevailing plaintiffs in actions brought

 pursuant to 42 U .S .C . § 1983 .

                                                 VENUE

          12. Venue is proper in this district because the defendant resides or is found here, a

 substantial part of the events or omissions giving rise to the claim have occurred here and the

 property that is the subject of the action is located here .

                                     GENERAL ALLEGATIONS

                                               Graffiti Art

          13 . Gerszberg is employed by Ecko .Complex LLC d/b/a Ecko Unltd. The founder

 and Chief Executive Officer is Marc Ecko . Ecko's abilities as a graffiti artist and his

 contributions to the graffiti art movement have been recognized throughout the art community .




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 Gerszberg has long appreciated and supported the graffiti art movement . This same view is

 deeply evidenced in the culture of Ecko Unltd . and its employees .

         14. Graffiti art has grown from its roots in inner-city street culture into a recognized

 and even mainstream art form, with fans in all age, race and socioeconomic classes . Numerous

 books are devoted to graffiti art, and this art form is studied in schools and displayed in galleries

 and museums . Graffiti artwork is as much the embodiment of the artist's expression as a written

 text or song . Also, countless are the number of books devoted to graffiti as an art fora, the

 number of students that study the art of graffiti in schools, the number of artists that practice the

 art of graffiti and the number of art galleries and museums that display and exhibit graffiti art

 every single day of the year .

         15 . Gerszberg has commissioned the creation of graffiti art to be painted by a

 professional graffiti artist on the property he owns at 4609 Pine Tree Drive in the City of Miami

 Beach . A rendering of the proposed graffiti art is attached as Exhibit A to this Complaint .

                                   The City' s Prohibition of Graffiti Ar t

         16 . Plaintiff brings this lawsuit because it is unclear whether the City Code permits

 owner-authorized graffiti art .

         17 .    Section 58-298(n) of the Miami Beach City Code, entitled Responsibilities o f

 Owners and Occupants, provides that :

                 Every owner of a building shall be responsible for removing
                 unauthorized signs, posters and graffiti from the building's
                 exterior; those signs authorized or exempted by the city zoning
                 ordinance are exempted from this subsection .

         18 . Section 58-299(i) of the Miami Beach City Code, entitled Responsibilities of

  Owners of Vacant Buildings, Vacant Structures and Vacant or Unimproved Lots, provides that :

                 Every owner of a vacant building, structure or lot shall be
                 responsible for removing unauthorized signs, posters and graffit i



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                 from the building's exterior ; those signs authorized or exempted by
                 the city's zoning ordinance are exempted from this subsection .

         19 . Neither Section 58-298(n) nor Section 58-299(i) defines the term "unauthorized ."

 Nor is the term "unauthorized" defined in any other section of the City Code .

         20. Neither Section 58-298(n) nor Section 58-299(i) defines the term "graffiti ."

         21 . Section 58-298(n) and Section 58-299(i) only exempt signs from their mandatory

 removal requirement . Neither section contains an exemption for graffiti art. Both sections,

 therefore, prohibit the maintenance of graffiti art despite the consent of the owner .

                     The City's Artistic or Super Graphics Permitting Proces s

         22. Further, despite the seemingly absolute prohibition on maintenance of graffiti set

 forth in the foregoing ordinances, Section 138-204 of the City Code provides a permitting

 process for "artistic or super graphics." This provision states :

                 Artistic or super graphics and/or neon banding that have no
                 commercial association are permitted, and may or may not face a
                 street, with the approval of the design review board . If they are
                 located in a local historic district or upon a historic site then it shall
                 be reviewed by the joint design review and historic preservation
                 board pursuant to chapter 118, article II .

         23 . Nowhere in the City Code is there a definition for "artistic or super graphics ." Nor

 does the City Code set forth any criteria governing when a permit for artistic or super graphics

 may be issued . Although the ordinance refers to a review process for graphics in historic

 districts or on historic sites, no similar reference is made to review procedures for graphics in

 other locations .

         24. Sections 118-251 to 188-263 set forth procedures and criteria for obtaining a

 decision from the Design Review Board . Nothing in these sections, however, refers to graffiti or

 graffiti art, or to artistic or super graphics .




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         25 . Section 118-251 provides for "design review criteria." Some of the listed

 "criteria" do not provide any standard at all, but instead refer to factual information to be

 considered by the board (such as the size of the lot) . To the extent true criteria are listed, they do

 not appear to apply to graffiti art . To the extent they might apply to graffiti art, they are vague

 and ill-defined . For example, Section 118-251(a)(6) provides :

                 The proposed structure, and/or additions or modifications to an
                 existing structure, indicates sensitivity to and is compatible with
                 the environment and adjacent structures, and enhances the
                 appearance of the surrounding properties .

         26. The City Code provides no guidelines under which it could be determined

 whether a particular work of graffiti art "indicates" a "sensitivity" to and a "compatibility" with

 the environment and adjacent structures, or whether it "enhances the appearance" of other

 properties.

         27. Section 118-253(a) provides that application for design review must be made on

  applications obtained from the Planning Department, which also makes a recommendation with

  respect to the application to the Design Review Board . A fee is required with the application .

  Section 118-255 .

         28 . Decisions of the Design Review Board are subject to review by the City

  Commission, which will hear the matter on the record created before the design review board .

  City commission review is limited to whether the Design Review Board provided procedural due

  process, observed "essential requirements of law" and based its decision on competent

  substantial evidence . Section 118-262(a) & (b) .

         29. The City Code provides no guidelines for use by the City Commission to

  determine whether the Design Review Board observed essential requirements of law and based

  its decision on competent substantial evidence .




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              The City' s Ordinance Permitting Graffiti with Owner's Permissio n

        30 . Despite the absolute prohibition of graffiti in Sections 58-298 and 58-299 and the

 purported permitting process in Section 138-204, Section 70-123 of the City Code permits

 graffiti on property with the owner's consent further evidencing the vagueness of the statutory

 scheme regarding graffiti .

        31 . Graffiti is defined by Section 70-122 of the City Code, which provides that :

                Graffiti means the unauthorized application of paint, ink, chalk,
                dye, felt-tip or indelible marker, crayon or any non-water soluble
                substance, or by applying or affixing inscribed or engraved
                materials, including posters, placards and flyers of any size and
                type on public or private permanent structures located on publicly
                or privately owned real property within the city .

        32 . Section 70-122 fails to define the term "unauthorized ." Nor is the term

 "unauthorized" defined in any other section of the City Code.

        33 . Plaintiff cannot determine from the City Code whether the term "unauthorized"

 applies to authorization, or lack of authorization, from the City, or whether the term refers to

 authorization or lack of authorization from a property owner .

                               Enforcement of the Subject Ordinance s

        34 . In 2004, the City cited Gerszberg for violating Section 58-299 because graffiti art

 was found on his property . He was threatened with fines of up to $1,000 per day if the graffiti

 art remained . Although Gerszberg had no objection to the graffiti art, under the threat of fines,

 he had the graffiti removed. A copy of the Notice to Appear sent by the City to Mr. Gerszberg is

 attached as Exhibit B to this Complaint .

        35 . The City made no effort to determine if the graffiti art was authorized, instead

 merely enforcing its Code section as an absolute prohibition of graffiti art .




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          36 . Gerszberg has no adequate remedy at law and there is an actual , practical and

 present need for declarato ry and/or injunctive relief.

          37 . Unless enjoined, the City's likely enforcement action will result in the loss of

 Gerszberg 's substantial ri ghts .

                                              COUNT I

           The Anti-Graffiti Ordinances Violate the First and Fourteenth Amendment s

          38 . Gerszberg realleges and incorporates paragraphs 1 through 37 as though fully set

 forth herein .

          39. To the extent the provisions of the City Code prohibit the placement or

 maintenance of graffiti art on private property, with the consent of the owner, the City Code

 constitutes impermissible content-based restrictions on free speech and artistic expression .

          40. To the extent the City Code prohibits the placement or maintenance of graffiti art

 on private property, with the consent of the owner, the provisions of the City Code are not

 necessary to further any compelling state interest .

          41 . As alleged above, Gerszberg has commissioned a work of graffiti art to be placed

 on his property . The City has in the past cited Gerszberg for violation of section 58-299, and

 required him to remove graffiti art from his property . The City has not declared in any manner

 an intention to cease the enforcement of Section 58-298 or Section 58-299 of its Code with

  respect to graffiti art .

          42 . The anti-graffiti art provisions of the City Code deprive Gerszberg of his

  substantial rights guaranteed by the First Amendment and Fourteenth Amendments to the United

  States Constitution.

          WHEREFORE, on this Count 1, Gerszberg demands judgment against the City :




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         A. Declaring each of the City's anti-graffiti ordinances unconstitutional on its face

 and as applied to Gerszberg ;

         B. Permanently enjoining the City from enforcing the ordinances ;

         C . Awarding Gerszberg his attorneys fees and costs pursuant to 42 U .S .C. § 1988 ;

 and

         D . Ordering any other appropriate relief.

                                              COUNT II

                   The Anti- Graffiti Ordinances are Unconstitutionally Vagu e

         43 . Gerszberg realleges and incorporates paragraphs I through 37 as though fully set

 forth herein .

         44 . The City's anti-graffiti ordinances are unconstitutionally vague and overbroad .

 There is no definition of "graffiti" in Section 58-298 or 58-299, and both these ordinances and

 Section 70-123 use the ambiguous term "unauthorized ." The ordinances do not provide notice of

 what subjects and conduct they impact . Specifically, it is unclear whether these ordinances

 prohibit the placement or maintenance of graffiti art commissioned or authorized by the owner

 on his or her property, particularly when read in the light of the artistic graphics ordinance .

         WHEREFORE, on this Count 11, Gerszberg demands judgment against the City :

         A. Declaring each of the City's anti-graffiti ordinances unconstitutional on its face

 and as applied to Gerszberg ;

         B. Permanently enjoining the City from enforcing the ordinances ;

         C . Awarding Gerszberg his attorneys fees and costs pursuant to 42 U .S.C. § 1988 ;

 and

         D . Ordering Any other appropriate relief.




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                                               COUNT II I

        The Artistic Graphics Ordinance Violates the First and Fourteenth Amendmen t

          45 . Gerszberg realleges and incorporates paragraphs 1 through 37 as though fully set

  forth herein .

          46. The artistic graphics ordinance allows constitutionally protected graffiti art to be

  displayed by permit holders but denies expression of this protected form of speech for those who

  do not hold a permit .

          47 . Gerszberg's First Amendment rights are violated by requiring a property owner

  who wants to display graffiti art to undergo the City's convoluted and undefined permitting

  process for "artistic or super graphics," pursuant to which the City may exercise unfettered

  discretion in deciding the artistic merit and content of the display .

          48. Freedom of speech is a fundamental right and so strict scrutiny must be applied to

  survive Equal Protection review . Because the City's restrictions on the display of graffiti art are

  not necessary to further any compelling state interest , the artistic graphics ordinance violates the

  Equal Protection clause of the Fourteenth Amendment .

          49 . The artistic graphics ordinance constitutes an impermissible prior restraint upon

  free expression and affords unbridled discretion to City officials to approve or deny permits for

  artistic graphics based on content .

           50. The artistic graphics ordinance restricts Gerszberg's freedom of speech and artistic

  expression and therefore constitutes a deprivation of liberty without due process of law in

  violation of the Due Process clause of the Fourteenth Amendment .

           WHEREFORE, on this Count III, Gerszberg demands judgment against the City :

           A. Declaring the City's artistic graphics ordinance unconstitutional on its face ;




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        B . Permanently enjoining the City from enforcing the ordinances;

        C . Awarding Gerszberg his atto rneys fees and costs pursuant to 42 U .S.C . § 1988 ;

  and

        D. Ordering any other appropriate relief.




                                           Benjamin&Reid
                                           Florida Bar No . 183522
                                           E. Kelly Bittick, Jr.
                                           Florida Bar No . 654035

                                           Carlton Fields, P .A.
                                           4000 Bank of America Tower
                                           100 S .E . Second Street
                                           Miami, Florida 3313 1
                                           Tel : (305) 539-7222
                                           Fax : (305)530-005 5
                                           Email : breid(Ucarltonfields .com
                                           E-mail : kbittick(u.carltonfields .co m




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                   EXHIBIT "A"
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                  EXHIBIT "B"
                                                                                        f
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                                      NOTICE TO APPEAR BEFORE SPECIAL MASTE R
                                                 CITY OF MIAMI BEAC H
                                              1700 Convention Center Driv e
                                            3rd Floor Commission Chamber s
                                        Miami Beach , Miami-Dade County , Florid a
                                                www.s pee ial m asta r@ m} arnibeaehtl. goy

TO,     SETH GERSBERG                                                         Special Master CasE: Number:     .iC05000394
        clo 1 MARTIN AV                                                                        Carle Vio #:    I 0500007 9
             SOUTH RIVER NJ 08882                                                          Code I • spector:   I ,ASTEL L
                                                                                               Tel. phone :    1305) 673-755 5


Property Address : 4609 PINETREE DR MBCH Hear ng Date :                                                        )7/281200 5
                                               Heariig Time :                                                  3 :00 A .M .
OFFENSE vacant lot .:pm vios. .Brafritt i
Code Section : 68-2991

1 . Pursuant to Section 162.03, Florida Statutes , you are noticed to appear before the Special Master of the City of
        Miami Beach , on 07/28/2005 , at 9:00 A.M . for failure to correct the violations cried in the h otice of Violation dated
        10/21 /2004 within the time specified for correction in that No ti ce . Failure 'to app i- ar will rest It in action being taken
        in your absence .

2.       You may obtain a copy of the violations from the Code Compliance Depa rtment by calling X3451 673-7555 .
         Refer to Code Violation Number CE05000079 when making your request . Additionally, you must direct all
         questions regarding the violations to the Code Compliance Departmeta i: the Office of the Special Master
         cannot answer any questions about the violations . If you believe that you hair :e fully complied with the violations
         cited, you must request an inspection by the Code Inspector prior to the hearirg by calling the Code inspector at
         (305) 673-7555 . if the violation is corrected and then recurs, or if the violation h. not corrected by the time specified
         for correction by the Code Inspector, this case may be presented to the Spec, ii Master, even if the violation has
         been corrected prior to the Special Master hearing, for an adjudication of guilt . I f you have any questions about the
         hearing Itself, please call (305) 673-7181 for assistance . Requests for con-'nuances must be in writing and
         delivered or faxed to the Office of the Special Master two (2 ) working drays prior to your : ;cheduied hearing (fax :
         305-673-7182) . The Special Master will review your request for continua :ice at the• hearing and make a
         determination . Denial of your request for a continuance will result in action beinc taken in your absence .

3 . You have the right to testify on your own behalf at the hearing ; to bring witness e ; to testify, and to present evidence
        regarding the existence of the violation, and your efforts at compliance . An attorney may appear before the Special
        Master on your behalf, at your expense .

4 . Pursuant to 162 .09, Florida Statutes, the Special Mastumay impose fines up 13 $1000 peer violation, for each day
       on which any violation exists, or up to $5000 per violation, per day, if the same violation has been r epeated by the
       same violator, within the last five years. If you should fail to pay the fine timel :,', liens may be imposed upon your
       personal and real property, and eventually fQreclosed upon, or otherwise enforced .

5 . Pursuant to Section 286 .0105, Florida Statutes, the City hereby advises the public that : "If a person decides tc
        appeal any decision made by the Special Master, at its meeting or hearing, a-:lid person will need a record of the
        proceedings, and that for such purpose, affected persons may need to erinure that a verbatim record of the
        proceedings is made, which record includes the testimony and evidence upon which the appeal is to be based ."
        This Notice does not constitute consent by the City for the introduction or admission of cthervuise inadmissible o
        irrelevant evidence, nor does it authorize challenges or appeals not otherwise lowed by law .

 6 . Pursuant to Section 30-79, of the Code of the City of Miami Beach, the viol :! for is held liable for the reasonable
         costs and expenses incurred by the City in enforcement, including, but not lin•,i` .ed to, all costs for enforcement an(
         collection .

                                                                  CERTIFICATE OF MAILIN G

         1, LISA R . MARTINEZ , Clerk of the Special Master, hereby certify that this no5°.,: was sent Certified mail OR
 regular mail to the alleged violator on 04-08-2005 .
                                                                                                                                 (JCDOG
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                          PROPERTY MAINTENANCE CODE COMF'LIAP l CE
                                      VIOLATION LIS T
         Owner. SETH GERSBERG                                           Inspection Data 10104/20(4

       Property 4609 PINETREE DR Case Nc: CE05000)79
       Address
               :    Sub-tYpE• . GENERAL
      Code Compliance Officer. George Castell
  All work performed is to be done with proper materials in an approves workmailike manner
  and is subject to inspection and shall be completed within 15 days from receipi of this
  notice . Building Permits must be secured before repairs are started .

  If you have any questions regarding this notice, please call (305) 67 :1.7555.
  Unit No , : GENR L
  974 Every owner of a vacant building, structure or lot shall be responsible for r : -moving unauthorized signs,
          posters and graffiti from the building 's exte rior of premises. 58-299i



  995 As a cumulative and supplemental method of enforcing the remedial purposes of this article , the code
           inspector is authorized , empowered and di rected , in the event of a willful aid intentaor al failure or
           refusal to obey or comply with the requirements of any notice of violation ic ; sued in accordance with the
           provisions of this article fifteen days after date of receipt of such notice , to ::arty out or cause to be
           carried out the provisions of such notice of violation . Any cost incurred by the City Will be the
           responsibility of the property owner and will become a lien on the property . Section 53-201(b)
                                                                               CIVIL COVER SHE
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The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing    see Of pleadings or other papers as required by law, except as
provided by local rules of court . This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet . (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM .) NOTICE : Attorneys MUST Indicate All Re-filed Cases Below.

 1 . (a) PLAINTIFFS                                                                                           DEFENDANT S                                                           4              p

 SETH GERSZBERG                                                                                               CITY OF MIAMI BEACH, FLORIDA, a Florida municipality

                                                                                                              Coun ty of Residence of Firs t Listed           Miami-Dade County
      (b) County of Residence of First Listed Plainti ff Middlesex County . NJ
                                                                                                                                          (EXCEPT N U .S . PLAINTIFF CASES ONLY )
                             (EXCEPT IN U .S. PLAINTIFF CASES)                                                NOTE : IN LAND CONDEMNATION CASES . USE THE LOCATION OF THE
                                                                                                                          LAND INVOLVED
                                                                                                                                                                                                   i<JiS~
                                                                                                              Attorneys (If Known)
      (C) Attorneys ( Firm Name , Address and Telephone Number)                                                                                                                         it Lr
  Benjamine Reid, Esq ., Carlton Fields, P.A ., 4000 Bank of America Tower, 100 S . E .
  2"d Street, Miami, Florida 33131 - 305/530-01&50     1


      (d) Check County Where Action Arose:       ✓ -AIAMI-DADS            ❑ MONROE          ❑ BROWARD           ❑ PALM BEACH             ❑ MARTIN         ❑ ST. LUCIE         ❑ INDIAN RIVER
                                                                                                                                                                     ❑ OKEECHOBE E
                                                                                                                                                                         HIGHLANDS
  II . BASIS OF JURISDICTION                    (PLACE AN -X"IN ONE BOX ONLY)
                                                                                                               Ill . CITIZENSHIP OF PRINCIPAL PARTIES ( Place an 'X" in one box for plaintiff
                                                                                                                     (For Diversity Cases Only) And One Boa,$or Defcndant )

  ❑ I U .S. Government)                               ✓ 3 Federal Question
                                                                                                                                             PTF DEF       (. ' 31 PTF DEF
           Plaintiff                                 (U .S . Government Not a Party )                         Citizen of this State          ❑ I  ❑ 1 Into or Pro 1 P  ❑4 ✓ 4
                                                                                                                                                        oI TT ue t
  ❑ 2 U .S . Government)                               13 4 Diversity
            Defendant                                        (Indicate Citizenship of Parties                                                ✓2
                                                                                                              Citizen of Another State                   ❑ 2 lncorpo edroti.Pri n c
                                                               in Item 111 )
                                                                                                                                                                  of B lftnot

                                                                                                              Citizen or Subject of a        ❑ 3         ❑ 3            Foreign AMIto                                 ❑ 6    El 6
                                                                                                               Foreign County                                                           G
                                                                                                                                                                                        rJ' ~ \J
  IV. NATURE OF SUIT                                  (PLACE AN x IN ONE BOX ONLY )
              CONTRACT                                              TORTS                                       FORFEITURE/PENALTY                           BANKRUPTCY                                OtM R STATUTE S
  ❑ I IO Insurance                       PERSONAL INJURY PERSONAL INJURY                                      ❑ 610 Agriculture                     ❑ 422 Appeal 28 USC 158                            S eapponionmen t
  ❑  120 Marine                          ❑ 310 Airplane           ❑ 362 Personal Injury -                     ❑ 620 Food & Drug                     ❑ 423 Withdrawal                              sib Antitrust
  ❑  130 Miller Act                      E3 315 Airplane Product Med Malpractice                              E3 625 Drug Related Seizure                  28 USC 157                           ❑ 430 Banks and Bankin g
  ❑  140 Negotiable Instrument                  Liability         E3 365 Personal Injury -                           of Property 21 USC
                                                                                                                                                         PROPERTY RIGHTS                        ❑ 450 Cmnmerce/ ICC Rates/etc .
  ❑  150 Recovery of Overpayment         ❑ 320 Assault, Libel &          Product Liability                    C3 630 Liquor Laws
                                                                                                                                                                                                ❑ 460 Deportatio n
          & Enforcement of Judgment             Slander           ❑ 368 Asbestos Pe rsona l                   ❑ 640 R. R. & Truck                   13 820 Copyrights
  ❑ 151 Medicare Act                     ❑ 330 Federal Employers' Injury Product                              ❑ 650 Airline Regs                                                                E3 470 Racketeer Influenced and
                                                                                                                                                    ❑ 830 Patent
  ❑ 152 Recovery of Defaulted                   Liability Liability                                           ❑ 660 Occupational                                                                        Co rrupt Organi zation s
                                                                                                                                                    13 840 Tradem ark
          Student Loans                  ❑ 340 Marine PERSONAL PROPERTY                                              Safety/Health                                                              ❑ 480 Consumer Credi t
          (Excl. Veterans )              ❑ 345 Marine Product     ❑ 370 Other Fraud                           ❑ 690 Other                                                                       ❑ 490 Cable./Sat TV
  ❑ 153 Recovery of Overpayment                 Liability         ❑ 371 Truth in Lending                                 LABOR                           SOCIAL SECU RITY                       El 810 Selective Se rvic e
          of V eteran ' s Benefits       ❑ 350 Motor Vehicle      ❑ 380 Other Pe rs onal                      ❑ 710 Fair Labor Standar ds           ❑ 861 HIA ( 1395f1)                         ❑ 850 Securities/Commoditie y
  13 160 Stockholders' Suits             ❑ 355 Motor Vehicle Property Damage                                         Act                            ❑ 862 Black Lung (923)                              Exchange
  ❑ 190 Other Contract                          Product Liability ❑ 385 P roperty Damage                      13 720 Labor/Mgmt . Relations         ❑ 863 DIWCJ DIWW (405(g))                   ❑ 875 Customer Challenge
  ❑ 195 Con tract Product Liability      [3 360 Other Personal Product Liability                              ❑ 730 Labor/Mgmt.                     ❑ 864 SSID Title XV I
  ❑ 196 Franchise                               Injury                                                                                                                                                   12 USC 341 0
                                                                                                                     Repo rt ing &                  13 865 RSI (405(g))
          REAL PROPERTY                        CIVIL RIGHTS        PRISONER PETITIONS                                                                                                           ❑ 890 Other Statuto ry Action s
                                                                                                                     Disclosure Act
                                                                                                              ❑ 740 Railway Labor Act                                                           13 891 Agricul tu ral Acts
  ❑   210 Land Condemnation              ❑ 441 Voting                        ❑ 510 Motions to Vacate
                                                                                                              ❑ 790 Other Labor Litigation                                                      ❑ 892 Economic Stabilization Act
  ❑   220 Foreclosure                    ❑ 442 Employment                           Sentence
  ❑   230 Rent Le ase & Ejectment        ❑ 443 Housin g/                                                      ❑ 791 Empl . Ret. Inc .                                                           ❑ 893 Environmental Matte rs
                                                                                    Habeas Corpus :
  ❑   240 Torts to Land                         Accommodations                                                       Security Act                      FEDERAL TAX SUITS                        ❑ 894 Energy Allocation Ac t
                                                                             ❑ 530 G eneral
  ❑   245 Tort Product Liability         ❑ 444 Welfare                       ❑ 535 Death Penal ty                                                   ❑ 870 Taxes (U .S . Plaintiff               ❑ 895 Freedom o f
  ❑   290 All Other Real Property        E] 445 Amer . w/Disabilities -      ❑ 540 Mandamus & Other                                                        or Defendant)                                Informatio
                                                                                                                                                                                                         nformationn Ac t
                                                                             [3 550 Civil Rights                                                    ❑ 871 IRS - Third Party                     ❑ 900 Appeal of Fee Determination
                                         ❑ 446 Amer. w/Disabilities -        ❑ 555 Prison Condition                                                        28 USC 7609                                 Under Equal Access to
                                                Other                                                                                                                                                  Justice
                                         ✓ 4400ther Civil                                                                                                                                       ❑ 950 Constitutionality of State
                                                Rights                                                                                                                                                Sta tu tes
  V . ORIGI N                (PLACE AN x IN ONE BOX ONLY )
                                                                                                                                  Transferred from                                                     Appeal to
  ✓ I Original                ❑ 2 Removed from              ❑ 3 Re-filed-                   ❑ 4 Reinstated or                ❑ 5 another distric t           13 6 Multidis trict                       District
       Proceeding                  State Court                   (See VI below)                  Reopened                         (specify)                        Litigation                     13 7 Judge from
                                                                                                                                                                                                       Magistrate
                                                                                                                                                                                                       Judgmen t
  VI . RELATED/RE-FILED                                           a) Re-filed Case 13 Yes ✓ No b) Related Cases 13 Yes v" No
                                               (See instruction s
        CASE(S )                                second page ) : JUDGE DOCKET NUMBE R


  VII . CAUSE OF ACTION                        Cite the U .S . Civil Statute under which you are filing and Write a Brief Statement of Cause ( Do not cite jurisdictional statutes unless diversity) :

                                               First Amendment challenge to City ordinances pu rs uant to 42 U.S .C., Section 198 3

                                   LENGTH OF TRIAL via five (5) days estimated (for both sides to try entire case )
                                    CHECK IF THIS IS A CLASS ACTION DEMANDS N/A CHECK YES only if demand in complaint Check YES only if demanded in complaint:
  VIII . REQUESTED IN
                               11 UNDER F .R.C.P. 2 3
         COMPLAINT :                                                                                                   JURY DEMAND ❑ YES ✓ NO
  ABOVE INFORMATION IS TRUE & CORRECT TO SIGNATURE OF ATTORNEY OF RE C                                                              DATER
                                                                                                                                              01
  THE BEST OF MY KNOWLEDGE                                      BENJAMINE REID

                                                                               FOR OFFI E USE ONL :
                                                                                                                    /            IN't            (                                                                0
                                                                                                   AMOUNT JRECEIPT # .                                                     IFP



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                                      INSTRUCTIONS R ATTORNEYS COMPLETING CIVIL COW flEET FORM JS-4 4
             Case 1:06-cv-21105-ASG Document 1 Entered on FLSD Docket 05/04/2006 Page 18 of 18
                                                                                 Authority For Civil Cover Sheet

         The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required by law, except as
provided by local rules of court . This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of
initiating the civil docket sheet . Consequently a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed . The attorney filing a case should complete the form as
follows :


1 . (a) Plaintiffs - Defendants. Enter names (last, first, middle initial) of plaintiff and defendant . If the plaintiff or defendant is a government agency, use only the full name or
standard abbreviations . If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving both name and title .

        (b) County of Residence. For each civil case filed, except U . S . plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time of tiling . In U . S .
plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing . (NOTE : In land condemnation cases, the county of residence of the
"defendant" is the location of the tract of land involved) .

       (c) Attorneys. Enter firm name, address, telephone number, and attorney or record. If there are several attorneys, list them on an attachment, noting in this section "(see
attachment)" .

        (d) Choose one County where Action Arose .


11 . Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F .R .C .P ., which requires that jurisdictions be shown in pleadings . Place an "X" in one of the boxes . If there is
more than one basis of jurisdiction, precedence is given in the order shown below .

United States plaintiff. (l) Jurisdiction is based on 28 U.S .C . 1345 and 1348 . Suits by agencies and officers of the United States are included here .


United States defendant . (2) When the plaintiff is suing the United States, its officers or agencies, place an X in this box .

Federal question . (3) This refers to suits under 28 U .S .C . 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the Constitution, an act of
Congress or a treaty of the United States . In cases where the U.S . is a party, the U .S . plaintiff or defendant code takes precedence, and box I or 2 should be marked .


Dive rsity of citizenship . (4) This refe rs to suits under 28 U .S .C . 1332, where part ies a re citizens of different sta tes . When Box 4 is checked , the citizenship of the different pa rt ies must
be checked . (See Section III be low ; federal question ac ti ons ta ke precedence over diversi ty cases. )

III . Residence ( citizenship) of Principal Pa rt ies. This section of the JS-44 is to be completed if diversity of citizenship was, indicated above. Mark this section for each principal
party .

IV . Nature of Suit. Place an "X" in the appropriate box . If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient to enable the deputy
clerk or the statistical clerks in the Administrative Office to determine the nature of suit . If the cause fits more than one nature of suit, select the most definitive .

V . Origin . Place an "X" in one of the seven boxes .


Original Proceedings. (1) Cases which originate in the United States district courts .

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U .S .C ., Section 1441 . When the petition for removal is granted,
check this box .

Refiled Copy of Order of Dismissal . (3 )

Reinstated or Reopened . (4) Check this box for cases reinstated or reopened in the district court . Use the reopening date as the filing date.

Transferred from Another District . (5) For cases transferred under Title 28 U .S .C . Section 1404(a). Do not use this for within district transfers or multidistrict litigation transfers .

Multidistrict Litigation . (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U .S.C . Section 1407 . When this box is checked, do not
check (5) above.

Appeal to District Judge from Magistrate Judgment . (7) Check this box for an appeal from a magistrate's decision .

VI . Related Cases . This section of the JS-44 is used to re ference relating pending cases if any . If there are related pending cases, insert the docket numbers and the corresponding
judge names for such cases .

VII. Cause of Action . Report the civil statute directly related to the cause of action and give a b rief description of the cause.                     Do not cite jurisdictional statutes unless
diversity . Example : U .S . Civil Statute : 47 USC 55 3
                          Brief Description :    Unauthorized reception of cable servic e

 VIII . Requested in Complaint. Class Action . Place an "X" in this box if you are filing a class action under Rule 23, F .R .Cv .P .

 Demand . In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction .


 Jury Demand . Check the appropriate box to indicate whether or not a jury is being demanded .

 Date and Attorney Signature. Date and sign the civil cover sheet .




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